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AO 93 (Rev. 11/13) Search and Seizure Warrant




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                                                                                          for the
                                                                                                                        ^                        ^ <5 ill;;9          i
                                                                   Western District of New York
                                                                                                                            j-?:

                                             In the Matter of the Search of
                           (Briefly describe ihe properly lo be searched or identify the person by name and address.)                    "'' •

                                                                                                                                                                      go
 LG cellular telephone utilizing Verizon Wireless call number 716-200-3770                                                              Case No. 19-mj- -fy ^


                                                        SEARCH AND SEIZURE WARRANT

To:          Any authorized law enforcement officer

        An application by a federal law enforcement officer or an attorney for the government requests the search of
the following person or property located in the Western District of New York (identify the person or describe the property W be searched
and give its location)'.
  An LG cellular telephone utilizing Verizon Wireless call number 716-200-3770, as further described in
  Attachment A, attached hereto,

        1 find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person
or property described above, and that such search will reveal (identify the person or describe the property to be seized)'.
 See Attachment B, attached hereto and incorporated herein by reference.

 All of which are evidence, fruits, and instrumentalities of a violation of Title 18, United States Code,
 Section 875(c), and all of which are more particularly described in the application for this warrant which
 is incorporated herein by reference.
             YOU ARE COMMANDED to execute this warrant on or before.
                                                                                                                                   (not to eyjteed ih days)
      lEI    in the daytime 6:00 a.m. to 10:00 p.m.                         □      at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

             The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to                                                         H. Kenneth Schroeder. Jr.
                                                                                                                                   (United States Magistrate Judge)
       □ Pursuant to 18 U.S.C. § 3103a(b), 1 find that immediate notification may have an adverse result listed in
18 U.S.C. § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notiee to the
person who, or whose property, will be searched or seized (check the appropriate box)
       □ for       days (not to exceed30). □ Until, the facts justifying, the later specific date of                .



Date and time issued:
                                                                                                                              ud^s signature

City and State: Buffalo. New York                                                                       H. KENNETH SCHROEDER, JR.
                                                                                                        UNITED STATES MAGISTRATE JUDGE
                                                                                                                         Printed name and Title
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                                                           Return

 Case No.: 19-mj-                   Date and time warrant executed:      Copy of warrant and inventory left with:


 Inventory made in the presence of:


 Inventory of the property taken and name of any person(s) seized:




                                                         Certification


          I declare under penalty of perjury that this inventory is correct and was returned along with the original
 warrant to the designated judge.




            'jaiz
 Date: !1*11126
                                                                                Executing officer's signature



                                                                                  Printed name ana title
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                                    Attachment A

                               Property to be Searched

      An LG cellular telephone utilizing Verizon Wireless call number 716-200-3770 that
was seized from the residence of MORGAN FALLON located at 17 Park Street, Upper,
Buffalo, New York, 14201, on or about May 9, 2018.
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                                       Attachment B

                                    Items To Be Seized

   Items comprising evidence of, or property used in committing, a violation of Title 18,
United States Code, Section 875(c), consisting of:

      1.      Electronically stored information which would tend to show, reflect, concern,
              or constitute threats to life or property and/or evidence of intent to commit a
              crime of violence against life or property.
